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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al., 2:90-cv-00520 LKK JFM P

Plaintiffs, | DECLARATION OF LISA
TILLMAN IN SUPPORT OF
v. DEFENDANTS’ OBJECTION
TO PLAINTIFFS’

ARNOLD SCHWARZENEGGER, et al., APPLICATION FOR AN
ORDER SHORTENING TIME
Defendants.

I, Lisa Tillman, declare:

1. Iam an attorney licensed to practice before all the courts of the State of California and
am admitted to practice in the United States District Court, Northern, Eastern and Southern
Districts.

2. Ihave personal knowledge of the facts stated in this declaration and if called to testify
upon those facts would do so competently.

3. On the morning of March 23, 2007, at 8:41 a.m., I received an email from Ms. Whelan

requesting that Plaintiffs were filing an "emergency motion today" about the "staffing crisis at

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DMH." She requested Defendants stipulate to a hearing on shortened time by 3:00 p.m. Friday,
March 23, 2007. Ms. Whelan offered to provide any further details. Attached as Exhibit A is a
true and correct copy of said email.

4. In an email on Friday, March 23, 2007 at 10:41 a.m., I asked for further information
about the motion. I informed Ms. Whelan that I could not stipulate to a motion on shortened
time absent further information about the claims being asserted, the grounds for relief and the
relief sought. I asked for a copy of the motion before it was filed. Attached as Exhibit B is a true
and correct copy of said email.

5. The only response to my email did not contain any further information about the motion
concerning DMH. Rather, in an email at 1:00 p.m. on March 23, 2007, Ms. Whelan simply
stated that an emergency motion would be filed "today" and asked that I inform her by noon
Monday, March 26, 2007 if Defendants would stipulate to the application for an order shortening
time. Attached as Exhibit C is a true and correct copy of said email.

6. On Friday, March 23, 2007, from 5:18 p.m. to 5:41 p.m., Plaintiffs’ counsel filed a
series of documents composing the motion and ex parte application for an order shortening time
were filed.

7. On Saturday, March 24, 2007, at 11:57 a.m., I sent an email informing Ms. Whelan
that the filed proposed order on the motion was not accessible. I also informed her that
Defendants did not have sufficient time to respond by noon Monday, March 26 to the requested
stipulation because Plaintiffs had filed the motion and application for an order shortening time
after usual business hours on Friday, March 23. Attached as Exhibit D is a true and correct copy
of said email.

8. On Monday, March 26, 2007 at 2:30 p.m., Ms. Kahn of Rosen, Bien and Galvan asked
me during a meeting if Defendants would stipulate to an order shortening time. I asked her for
the sought time frame of the application for shortened time. Ms. Kahn said she did not know
what time frame Plaintiffs sought on their Application for an Order Shortening Time.

9. On Monday, March 26, 2007, at 3:10 p.m., Mr. Bien sent me an email requesting

Defendants stipulate to the application for an order shortening time and indicating he would

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"assume" that "any failure to respond is a indication of a refusal to stipulate." Attached as
Exhibit E is a true and correct copy of said email.

10. In my email response to Mr. Bien’s email, I again asked for the time frame sought on
the application for an order shortening time and stated that Defendants had not been given
adequate time or information to enter into a stipulation on Plaintiffs’ application. No information
on the sought timeframe has been provided. Attached as Exhibit F is a true and correct copy of
said email.

I declare under the penalty of perjury that the foregoing is true and correct.

Dated: 3° 27- C7 9 sy l Le DCA

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